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                      EXHIBIT C
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                                            TOUCHSTREAM NON-JOINT EXHIBITS - COMCAST
PTX                            Identifier                                       Description                              Comcast Objections
       2 COM_00105110                                      Comcast Customer Months Spreadsheet
       3 TS_COMCAST_00077400                               Mitschele email                                                FRE 402, 403, 802
       5 TS_COMCAST_00014300                               Quadriga Statement of Work Doc                                      FRE 802
       7 COM_00084167                                      Rovi Patent License Agreement                                FRE 106, 402, 403; S
       8 COM_00085141                                      Rovi Guides Cross License                                    FRE 106, 402, 403; S
       9 https://www.xfinity.com/buy/tv-equipment          Comcast Customize TV Equipment Page                              FRE 402, 403
         https://developmentsupport.wyndham.com/files/     Offer Doc for Wyndham hotels, Staycast by Sonifi by       FRCP 26; FRE 402, 403, 802; S
      10 9314/9686/1884/STAYCASTSummerOffer-               Chromecast
         FINAL.pdf
                                                           YouTube, “Patent Trial & Appeal Board                     FRCP 26; FRE 402, 403, 802; S
      11 https://www.youtube.com/watch?v=cSxLkwekit4
                                                           Roundtable | Comments on Patent Litigation,”
      12 COM_00004301                                      Comcast June 2010 Project Request                             FRCP 26; FRE 901
         https://www.sling.com/help/en/troubleshooting/                                                              FRCP 26; FRE 402, 403, 802; S
      13                                                   Sling Page on Multiple Screens
         device-questions/multiple-screens
      14 https://help.netflix.com/en/node/102377.          Getting Started with Netflix page                         FRCP 26; FRE 402, 403, 802; S
         https://help.hulu.com/article/hulu-unlimited-                                                               FRCP 26; FRE 402, 403, 802; S
      15                                                   Hulu Unlimited Screens Add-On page
         screens
         Touchstream v Google Admitted Exhibit JTX0167                                                               FRCP 26; FRE 402, 403, 802; S
      16 (GOOG-TST-                                        Business case for Chromecast
         00197517)
      18 COM_00001389                                      Xfinity Remote 1.0 Trial Request                            FRE 402, 403, 802, 901; S
      19 COM_00000998
      20 TS_COMCAST_00096472                                                                                           FRE 402, 403, 802, 901; S
      21 TS_COMCAST_00054555                                                                                            FRE 106, 402, 403, 802
                                                           Dec 2011 Email thread between Mitschele and                    FRE 402, 403, 802
      22 TS_COMCAST_00014056
                                                           Derek Johnson at Comcast
      23 COM_00095802                                      April 2012 Comcast email thread                                FRE 402, 403, 802
      24 TS_COMCAST_00041043                               June 2011 presentation to Yaccarino at Turner               FRE 106, 402, 403, 802; S
      25 COM_00095975-6                                    Dec 2011 Comcast email                                           FRE 402, 403
      26 COM_00091273                                      Genacast notes                                                   FRE 402, 403
      27 COM_00091381                                      Dec 2012 Genacast email                                          FRE 402, 403
      28 TS_COMCAST_00065826                               Nov. 2013 Email to Genecast                                  FRE 106, 402, 403, 802
      29 COM_00091235                                      August 2011 TS Presentation to Genacast                          FRE 402, 403
         Comcast Resp to Touchstream First Set of RFAs,    Comcast Resp to Touchstream First Set of RFAs,                   FRE 402, 403
      30
         served June 10, 2024                              served June 10, 2024
      31 TS_COMCAST_00030341                               Dec 2011 Touchstream thread                                  FRE 106, 402, 403, 802
      32 COM_00094668                                      March 2012 TS-Comcast MM                                         FRE 402, 403
      33 COM_00095809                                      April 2012 Email                                               FRE 402, 403; S
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   https://medium.com/@gilbeyda/excited-to-join- comcast-                                                                 FRE 402, 403
   ventures-to-invest-in-game-changing- technologies-at-all-
34 stages-93c089159f37                                       Gil Beyda Blog Post
35 https://comcastventures.com                               Comcast Ventures Website                                     FRE 402, 403
46 COM_00029225                                              RDK Overview                                                      S
50 COM_00030469                                              STB Software Architecture diagram                            FRE 106, 403
52 COM_00014952                                              TV Remote Apps for SMB Customers Architecture              FRE 402, 403, 802
55 COM_00012782                                              XTVAPI presentation                                               S
56 COM_00014565                                              TV Listings                                                       S
57 COM_00032319                                              AAMP Overview
58 COM-SC_00000921-41                                        Comcast Source Code
59 COM_00001060                                              Xfinity TV app Presentation
60 COM_00006411-417                                          cim Xfinity TV app for Android
61 COM_00094669-778                                          Email re NCTA Clip Report                                  FRE 402, 403, 802
63 COM_00002404                                              11/8/10 Update Presentation
64 COM_00001006-008                                          Xfinity Remote Overview Slides
65 COM_00002678                                              Xfinity TV App Roadmap
66 COM_00000593                                              Video Demonstration
75 TS_COMCAST_00024780                                       TS_CHARTER_00024742                                       FRE 402, 403, 802; S
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   …/shodogg-Quad-And-                                       …/shodogg-Quad-And-
78 Lib/src/com/shodogg/quad/and/lib/DeviceViewM              Lib/src/com/shodogg/quad/and/lib/DeviceViewM
   odel.java                                                 odel.java
79 …/quad/and/lib/activity/MainActivity.java                 …/quad/and/lib/activity/MainActivity.java
   ube- master/service/src/main/java/com/shodogg/ube/        ube- master/service/src/main/java/com/shodogg/ube/
80 service/controller/core/ScreenController.java             service/controller/core/ScreenController.java
   ube- master/service/src/main/java/com/shodogg/ube/        ube- master/service/src/main/java/com/shodogg/ube/
   converter/URLEncodedToJSONHttpMessageConv                 converter/URLEncodedToJSONHttpMessageConv
81 erter.java                                                erter.java
   ube- master/service/src/main/java/com/shodogg/ube/        ube- master/service/src/main/java/com/shodogg/ube/
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   business/core/ScreenManager.java                          business/core/ScreenManager.java
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83 master/service/src/main/java/com/shodogg/ube/             master/service/src/main/java/com/shodogg/ube/
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                                                             Nov 2014 email with Herb, Jamie, and Krishnan              FRE 402, 403, 802
84 TS_COMCAST_00059080
                                                             Bhatia at NBCU
85 TS_COMCAST_00086344                                       August 2014 TS email thread                               FRE 402, 403, 802; S
86 TS_COMCAST_00093602                                       HP Agreement                                                 FRE 402, 403
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    releases?item=123566
 89 https://www.hyatt.com/info/chromecast                    Hyatt, "Connect in Room With Chromecast," Page          FRCP 26; FRE 402, 403, 802; S
 90 https://www.sonifi.com/streaming/                        Sonifi website                                          FRCP 26; FRE 402, 403, 802; S
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 91                                                          The Verge Article
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                                                             Comcast Jan 2012 email attaching CableLabs                   FRE 402, 403, 802
 92 COM_00095827
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    https://www.alleywatch.com/2014/12/meet- shodogg-        Meet Shodogg Who Won this Year’s Techweek NYC           FRCP 26; FRE 402, 403, 802; S
 96 who-won-this-years-techweek-nyc-                         Launch Competition,
    launch-competition/.                                     AlleyWatch (12/2014),
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